Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 1 of 8 PageID #:
                                    4179
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 2 of 8 PageID #:
                                    4180
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 3 of 8 PageID #:
                                    4181
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 4 of 8 PageID #:
                                    4182
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 5 of 8 PageID #:
                                    4183
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 6 of 8 PageID #:
                                    4184
Case 4:20-cr-00212-ALM-BD   Document 453   Filed 05/03/23   Page 7 of 8 PageID #:
                                    4185
Case 4:20-cr-00212-ALM-BD          Document 453        Filed 05/03/23      Page 8 of 8 PageID #:
                                           4186




                                         COUNTSEVEN

          As to the offense charged in Count Seven of the Fifth Superseding Indictment, conspiracy

  to commit wire fraud, we, the Jury, find the defendant Debra Lynn Mercer-Erwin:



                        -+-Guilty                     ------ Not Guilty




  Date:                                       Foreperson:              ---------




                                                  8
